  Case 5:19-cr-00213-JGB Document 12 Filed 06/05/19 Page 1 of 1 Page ID #:51


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 Memorandum                                                                                -       ;5
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 Subject:                                          Date:            ~

 United States v. SPankle Shorale Nelson, et al.   June 3, 2019                `~       ~ r ,~
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 To:                                               From:                              ~r ~'~   z        "P~
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 KIRY K. GRAY                                   SEAN D.PETERSON                   -~ ~ ~
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                                                Assistant United States Att rne~o~ _                    r~
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 Clerk, United States District Court
 Central District of California                 Criminal Division                 ~~ ~
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For purposes of determining whether the above-referenced matter, being file on June.5,2'019:

(a)     should be assigned to the Honorable Andre Birotte Jr., it

            ❑ is

            ❑
            x is not

        a matter that was pending in the United States Attorney's Office(USAO)on or before
        August 8, 2014, the date the Honorable Andre Birotte Jr. resigned from his position as the
        United States Attorney for the Central District of California.

(b)     should be assigned to the Honorable Michael W. Fitzgerald, it

            ❑ is

            ❑
            x is not

       (1) a matter that was pending in the Terrorism and Export Crimes Section in the USAO's
        National Security Division on or before August 3, 2015;(2)a matter pending in the
        USAO's National Security Section in the USAO's Criminal Division on or before August
        3, 2015, or a matter in which the National Security Section was previously involved; or
       (3)a matter in which current First Assistant United States Attorney Patrick R. Fitzgerald
        is or has been personally involved or on which he has personally consulted while
        employed in the USAO.



                                                   SEAN D. PETERSON
                                                   Assistant United States Attorney
